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COU NW ,

                     Plaintiftl                 civilActionNo
                                                            '.
                                                             '.7:19cv232
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                                                                          '
                                                                          jx
V.

BR G N GRO SS,ELIZA BETH GRO SS,
AND M ELISSA W AUGH

                     D efendants.



                        COM PLM NT èOR ATTORNEYS'FEES
      TheSchoolBoardofRoanokeCounty (ttschoolBoard'')bringsthisactionagaiéstDr.
                                  '

BdanGrossandMrs.ElizabethGross,parentsofminorchilbM .G.,andVelissaK.W augh,
Esq.,torecoverreasonableattom eys'fees,costs,and expensesinèurred in theadministrativedue

processheadngbeforetheVirginiaDepnrtmentofEducation (ç<VDOE'')andfledunderthe
IndividualswithDisabilitiesEducationAct,20U.S.C.j1400etseq.,CKm EA'3,which endedin
favoroftheSchoolBoard on a11issues.

                                      1. G TR O D U CTIO N
       1.    Tllisaction isbroughttorecoverreasonable attom eys'fees,costs,and expenses

incw edbytheSchoolBoardindefendingtheIDEA administraTivedueprocessheadng(Etdue
processheming'')initiatedbyDr.andMrs.Gross(or<Tarçnts''),tllroug,hcounsel.
             TheIDEA at20U.S.C.j 1415(i)(3)(B)(i)(III)allowstheCourtto award
reasonable attorneys'feesaspartofcostsEtto aprevailing...localeducationalagency...against

theattom ey ofaparent,oragainsttheparent,iftheparent'scom plaintorsubsequentcauseof




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action waspresented forany improperpurpose,such astoharass,to causeunnecessarydelay,or

toneedlesslyincreasethecostoflitigation.20U.S.C.j1415(i)(3)(B).
      3.      In addition,20U.S.C.j1415(i)(7)(B)(i)(Il)allowstheCöut'
                                                                    ttoawardattorneys'
feest<againsttheattom ey ofaparentwho slesacomplaintorsubsequentcauseofaction thatis

G volous,unreasonable,orwithoutfoupdation,oragainsttheattorney ofaparentwhocontinued

tolitigateaûerthelitigation clearlybecnmeE volous,lmreésonable,orwithoutfoundationl.j''.
f#.

       4.     Dr.and M rs.Czrossinitiated adueprocesshearingundertheIDEA in orderto

challengethedetermination thatM .G.,theirstraight-A student,whom etorexceeded p ade-level

expectations,wasnoteligibleforspedaleducationandrelatebservices.
                                        '
                   .


              Drrand M rs.Grossinitiated the dueprocesshearinéin an attemptto secure
M .G.'splacem entattaxpayerexpenseattheNorth CrossSchool,aprivate,elite,college-

preparatpry school.

       6.     Dr.andM rs.Grossinitiated the dueprocesshearingdespitetheirap eem entand

written consenttothe determination thatM .G.w asnoteligibleforspecialeducation andrelated .

servicesunderthe D EA.

              Dr.and M rs.Grossinitiated and litigated thedueprocesshearing undertheID EA

despitesuffering adefeatin apreviousadm inistrativeproceeding regarding M .G.'Seligibility

underSection504oftheRehabilitationActof1973Cfsection 504'').In thepreviousSection
504 proceeding,D r.and M rs.œ oss's case w as dism issed on the SchoolBoard's m otion to strike

forfailtlretom eettheirburdén ofproof SteV ay 18,2018Decision,attachedhereto asExhibit




  Case 7:19-cv-00232-EKD Document 1 Filed 03/12/19 Page 2 of 13 Pageid#: 2
                     Dr.and M rs.Grossinitiated and litigated the dueprocesshenring despitethe

    Endingsby aSection 504 adm inistrativehearingoffcerand aSection 504 review ofûcerthat

    they hadav eed with theSchoolBoard'seligibility determination tmderthe D EA.SeeAugust

    26,2018 Decision,attached hereto asExhibit2.

                     Dr.andM rs.Grossengaged the SchoolBoard in asix-day IDEA special

    education henringregarding theirstraight-A student,whom etorexceeded grade-level

    expectations.See December 13,2018Decision,attachedhereto asExhibit3.

           10.       'I'
                       heSchoolBoard incurred reasonableattom eys'fees,costs,and expensesin

    defending againstDr.and M rs.Cxross'sfrivolousand unfounded dueprocesscomplaint.

                                                 II. PA RTIES

                     The SchoolBoard isapoliticalsubdivision oftheCom monwealth ofVirginia

    exiàtingpursuantto theConstitution and stamtesofVirgirlia andisvested with the authodtyto

    supervisethepublicschoolswitllinRoanokeCounty.Va.Const.,Art.VIIl,j7'
                                                                       ,Va.Code
    j22.1-71;seegenerallyTitle22.1oftheCodeofVirginia.TheSchoolBoardoffceislocated
    at5937 CoveRoad,Roanoke,Virginia 24019.

           12. Dr.Bdan GrossandM rs.ElizabethGrossaretheparentsofM .G.(orEçstudent'),
    whoisam inorchild. M .G.attended Oak CxroveElem entary Schoolwithin RoanokeCounty

    PublicSchoolsf'
                  rom firstpadeuntilthebeginningofthe2017-2018schoolyear,whenDr.and
    M rs.Grossurlilaterally withdrew M .G.âom RoanokeCotmty Public Schoolsand enrolled him
                                f
    attheNorth CrossSchool,anon-specialeducation,collegepreparatory,privateschool.Ata11
'
    tim espertinenthereto,M .G.residedwith Brian and Elizabeth Grossin RoanokeCotmty.

           13. M elissaK.W gugh,Esq.,(hereinaAer,EW ttomeyW augh''lprovidedlegal
                                            ''        .
                 .

    representation forDr.and M rs.GrossandM .G.from aseady asAugust25,2017to thepresent.

    AtlorneyW aughjoinedthe1aw 51411ofBelkowitzLaw,PLLC inOctober,2018.


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                           114. TURISDICTION AND VENIJE
        14. '
            FltisCourthasodginaljuriqdictionoverthismatterpursuantto28U.S.C.j 1331
                                                                               *'
    .

becausethiscaseraisesfederalquestionstmdertheIDEA.Seealso20U.S.C.j1415(i)(3)(A).
         15. Venueisproperpursuantto28U.S.C.j139109.
               TheUnited StatesDistrictCourtfortheW estern DisttictofVirgirlia,Roanoke

DivisionistheproperDivisionpursuanttoRule24b)oftheLocalRulesfortheW estem Dijtrict
ofV irginia.

                           IV . STA TEM EN T O F TH E FA CTS

               M.d.isaniptelligent,hard-worlcingunh-gqadestudentwhofonnerlyattended
Oak GroveElem entary Schoolin Roanoke CotmtyPublicSchools.

         18.   M JG.began attending Oak GroveElem entary Schoolasafirst-p aderin fall,

2014.'

         19.   W hileattending Oak GroveElem entary School,M .G.m adesignificant

educationalpror ess.

               M .ck.enrned a11Ason hisreportcardsin second and third m adeduring the2015-

2016 and 2016-2017 schoolyeàrs.

         21.   M .G.m étand olen exceeded p adelevelrequirem entsand expectations.

         22. M .G.wasreadingatorabovegraàelevelwhileattendingOakGrokeElementary
School.

               On August22,2016 atthebeginning ofM .G.'Sthird-p ade year,theSchool

Board convened an IDEA eligibilitym eeting attherequestofDr.and M rs.Grossto determ ineif

M .G.waseligible forspecialeducation and related serdcesunderthem EA basedon aprivate

m edicaldiar osisofdyslexia.




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              TheSchoolBoard convened M .G .'SIDEA eligibilitym eetingon August22,

2016.

        25. 'TheAugust22,2016IDEA eligibilitym eeting wasçollaborativeand congenial.

        26.   Dr.and M rs.Grossattended andpe icipated in theAugust22,2016 IDEA

eligibilitym eetingandw ereafforded theoppoA nityto ask questions.

              On August22,2016,the eligibility team,which included Dr.andM rs.Gross,

determinedthatM .G.wasnoteligibleforspecialeducation undertheIDEA .

        28.   On August22,2016,both Dr.and M rs.Czrossprovided written consentforthe

team 'sdeterm ination thatM .G.wasnoteligibletmdertheIDEA.

        29.   Dr.and M rs.Grossare educated,nativeEnglish speakers. br.Grossisasurgeon.

M rs.Grossisa form erelementarp schoolteacher.

        30.   The eligibility formsutilizedby theSchoolBoard contain asection titled,

ttparentalrefusalofconsentforeligibility orchange isindicated byparentalsir aturebelow .''

Dr.andMrs.Grossdidnotsi> theeligibilit#fonnsheretoindicatethattheydisaveedwiththe
determination ofineligibility.

        31.   The eligibility for
                                'm salso contain a section which states,dt istnnm esand roles

whoseconclusion differs9om otherm embers'determination,''and providesan opportunity for
such individualsto attadh awdtten statem ent.N om emberofthe eligibility
                                                                       'team , includingDr.

orM rs.Gross,sir ed in thatsection.No m emberoftheeligibility team ,including Dr.orM rs.

Gross,attached awdtten statem entdissenting9om theeligibility determ ination.

        32.   On November29,2016,attherequestofDr.and M rs.Cyrossathe SchoolBoard
         l
convened am eeting to detennineifM .G.waseligibleforaccomm odationsunderSection 504.

M .G.wasfound ineligibleunderSection 504.




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             Following an August25,2017 Child Study Team M eeting,Dr.and M rs.Gross

unilaterally withdrew M .G.from theschooldivision and enrolled him in North CrossSchool.

                                       Section 504 H earina

       34.    On November21,2017,M rs.Gross,through hercounsel,Attom ey W augh,sled

a23-pagerequestforan im partialheadng underSection 504 oftheRehabilitation Actof1973

Cçsection 504') andpursuanttoRoanokeCountyPublicSchools'AdmiistrativeGuidèlinesalo
éroèeduresGoveminjtheImplementationofSection 504ofthe'RehabilitationActof1973
CtAdminiskativeGuidelilws').
       35.    rlnheN ovem ber21,2017 Section 504 c
                                                 v
                                                   omplaintsoughtremediesunavailable   '




tmderSection 504,including thepaym entofprivateschooltuition atpublicexpense forcllildren

otherthan M .G.
                                               '
                       .

              Attached to the Gröss'sSection 504 complaintwasapsychologicalevaluation
                            .




reportcompletedby aDr.AnthonyHenley in lateOctober2017. By thattim e,Dr.and M rs.

Cyrosshad already withdrawn M .G.9om thepublicschooldivision. Dr.and M rs.Grojsdid not

providetheSchoolBoard with Dr.Henley'sreportforthe SchoolBoard'sconsiderationpriorto

theirwithdrawalofM .G.

              Aûerreceiving Dr.Henley'sreport,on December26,2017,theSchoplBoard

proposed to conductadditionalevaluationsofM .G.

              M rs.Czrossrefused to provideconsentfck the SchoolBoard'sproposed

evaluations on the advice ofAttorney W augh.

       39.    On January 2,2018,Headng OffcetRobinson orderedthatthepartiesexchange

Proposed witnesslistsand exhibitsfortheSection 504 Hearing thatw asinitiated onNovember

21,2017.Theseexhibitsand witnesslistweredueby closeofbusinesson Januat'y29,2018.




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      40.    0n January29,2018 at4:56 p.m .,'
                                            A ttom ey W augh e-mailed counselforthç

SchoolBoardindicating thatshewould notbem eeting thedeadlineordered bytheHearing

Oo cerforthe submission ofexhibits.

      41.    On January 31,2018,theHearing Oo cerordered that,duetoAttorney W augh's

failuretomeettherequireddeadlinefortheexchangeofexhibits,Dr.andVrs.Gross'sexhibits
                                                                              k

wouldbeexcluded 9om introduction atthehearing.

      42.    Dudng apre-hearing conferencecallheld on February 1,2018,Hearing Offcer

Robinson ruledthatbecausetheParents'exhibitswereexcluded 9om thehearing,theParents'

witnesses,Dr.AnthonyHenley and M s.M dreaFoutz,would notbepermittedto testify atthe

hemingbecausetheirrelevanceaswitnesseswaslimited to thereportsthey created.

      43. OnFebl'uary5,2018,thepartiesbeganthesrstdayofajection504hearing,
wllich spnnnedthecourse offivedays,âom February5 to February 9,2018.

      44.    Dr.andMrs.Gross'scase-in-chiefalonestretchedoverthecoùrseofa11five
consecutivedaysofthehearing.

      45.    M rs.Grosstestised during the Section 504 hearing.NeitherM rs.Grossnorany

otherwitnessdisputed thatDr.and M rs.Grossprovidedwritten consentfortheAugust22,2016
                                                          '
      o
determlnation thatM .G.wasnoteligibleforspecialeducation undertheIDEA.

      46.    Attheconclusion oftheParents'case-in-chief,counselfortheSchoolBoard

orallym oved to stdketheParents'evidence on them oundsthattheParentshad failed tom eet

their.
     bprden ofproof.
      47.    On M ay 18,2018,aRerconsidering thewrittenbriefsofboth parties,andthe

headngrecord,H enringOffcerRobinson grantedtheSchoolBoard'sM otionto Strikeand

dismissed Dr.and M rs.Gross'case. Specifcally,theHeating Oo cerfound thattheParents




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failedtoprovethattheSchoolBoardactedwithdçbadfaith orgrossmisjudgment''withrespectto
M .G .

         48. Headng OffcerRobinson'sM ay 18,2018decisionalsoexplicitlkfoundthat,
Eç-lnheparentapeedwith theeligi
    ,                         bilityteam'sdeterminationthat(M .G.)didnotqualifyfor
specialeducation and related servicesundertheIDEA.''
                                                                              ''
                               .
         49.   On June 19,2018,the SchoolBoard received aNotice ofAppealofHeating

Oo cerRobinson'sM ay 18,2018 decision in favorofthe SchoolBoard.

         50. PursuanttotheAdminiskativeGuidelines,LodnCostnnzo,Esquire(EtReview
OO cer''lwasappointedtoserveasthereview ofscertoconsidertheappealofHeadngOo cer
Robinson'sdecision.

               On August26,2018,aqerreviewing written bdefssubmittedbyboth parties,the
                                                         '
                                       ,

Review Offcerissued adecision upholdingHearing Oo cerRobinson'sM ay 18,2018 decision.

                              'l'he ID EA D ue ProcessH earing

         52.   On August22,2018,Dr.and M rs.Gross,through cotmsel,Attom ey W augh,

requested aspecialeducation dueprocessheadngundertheIDEA,exactlytwoyearsaherthe

dateofthe IDEA eligibilitym eeting.

         53.   '
               FheAugust22,2018dueprocesscomplaintchallenged the SchoolBoard's

August22,2016 determination thatM .G.wasnoteligibleforspecialeducation undertheIDEA.

'Fhedueprocesscom plaintalso contained allegationsofretaliation and ofdiscrim ination under
                                   .




theAmericanswithDisabilitiesActC<ADA'').
         54.   On August24,2018,Hearing OfdcerRobinson wasagain appointed topreside

overthedueprocesshee ng.




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              On August31,2018,M rs.Grosssentaletterto theSchoolBoard in which she

statedthatsheand herhusband are?ttsuccessful,welleducated people,''and thatsheis

advocatingfor<tallstudentsandfnmiliesinRoanokeCounty,''Eçnotjust(herqownchildrem''
       56.    M rs.Grosspreviously expressed atair qcoding Dyslexia''parentsupportp oup

meeting thatshe and herfnm ily had the economicm eansto fightorcombattheschooldikision
                                                                                . .




with respectto theeducationalprov nmming ofherchildren.

              On Septem ber4,2018,counselfortheSchoolBoard sentAttom ey W augh aletter

advisingAttorney W augh thatDr.and M rs.Gross'sclaim swerewithoutmerit.Cotm sel's

September4,2018letteradvisedAttomeyW aughof20U.S.C.j1415(i)(3)(B)(i)and34C.F.R.
j300.517(a)(iii),whichprovidefortherecovqryofattomeys'feesandcôstsagainstaparentand
hisorherattom ey following qn IDEA dueprocessheadng.

       58.    Duting aSeptember18,2018 pre-hearing confeqence call,theHearing Ofscer
t<remindedtheParentsthatthisijnotan appealoftheSection 504 decision,thatthey am eed with

theteam 'sdecision to 5nd the StudentineligibleunderIDEA on August22,2016 andthatthe

decision islim itedto theinformation known to the eligibilitytenm when itm adethedecision.''

       59.    Parentsdidnotwithdraw theirdueprocessèomplainteven aherHearing Ofscer

Robinson reminded them thatthey had agreedwith theteam 'sdecision to find M .G.ineligible

undertheIDEA.

       60. AttomeyW augh includedtwenty(20)witnessesonherproposedwitnesslistfor
thedueprocesshenring and represented tothe SchoolBoard andheadng ofscerthateach

witnesswas<Eessential''tohercaàe-in-chief. AttomeyW aughultimatelycallednine(9)

w itnesses.




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          61.    AttomeyW aughincludedtwoSAT/ACT (collegeadmissionstesting)eïpertson
    herproposed witnesslistforthedueprocessheadng,which pertained to a sfth gradestudent.
                                                            .           '
,



    WhenaskedifAttomeyWaughrequiredthetestimonyofboth,AttomeyWaughrespondeb,E<l
    don't''

           62.   Thesix-day hearingbegan on October16,2018.TheParentscalled nine

    witnessesand introduced approxim ately 160 exhibitsinto evidence.rfheParentspresented

    twenty-onehoursoftestimony.

           63.    M rs.Czrosstestised forseveralhoursatthedueprocesshearing,both asan initial

    witnessandasarebuttalwitness,overtheSchoolBoard'sobjection.
           64.    Dr.Grossdidnottestify attheheadngnoratteild thehearing,despitellisprejence

    attheAugust22,2016 IDEA eligibilitym eeting.

           65.    M rs.Grosstestised in amanner-
                                               inconsistentwithhertestim ony dttdngthe

    Section 504 henring.

           66.   Testim ony elicited during thedùeprocesshearing dem onstrated thatM rs.Gross

    influenced orattempted toinfluencethecontentofherprivateevaluatorand expertwitness's

    report.

           67.    Testim ony elicited dudng the dueprocesshearing de'
                                                                    m onstrate'd thatM rs. Cyross

.   inform ed aNorth CrossSchooladm inistratorthatheronly llnknown fnancialconsideration,'
                                 *
                                                                            ,

    with respectto payingprivateschoolmition,wasthe am opntofhçrown attom eys'feesfor
    wlzich shewould beresponsiblein corm ection with'herlitigation againsttheSchoolBoard.

           68.   M any ofthewitnessescalled by theParentstotestify atthe IDEA dueprocess

    headng also testised,oAen aboutthesnm etopics,attheSection 504 hearing.




                                      - 10 -

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                                                                                     '
                                                                  .

           69.       Testimony duplicativeofthatelicited duringthe Section 504 hearing wasattim es

    permittedovertheSchoolBoard'sobjection.
           70.       Testim ony duplicativeofthatelicited dudng the Section 504 headngwasattim es

    permitted despitethefactthattheSection 504 headng transcripthadbeen adm itted iqto evidence

    on Attom ey W augh'sm otion.
                 '
.



                     Dudngthedueproqesshearing,AttorneyW augh stated numeroustim esthather

    rationaleforeliciting certain testim ony orpresentipg certain evidencewasto i<rebu't''testim ony

    elicited attheSection 504 hearing.

           72.       DudngthedueprocessV adng,AttomeyW aughdevotedhourstoauthenticating
    nearly a11ofDr.and MTS.Gross'sapproximately 160 exhibits.AttorneyW augh engaged in this
                          .




    exercisedespitethefactthattheHeadng Om cerhad already admittedthoseexhibitstu wlzich he

    hadhotsustainedanobjection.
                     On December13,2018,theHearing Oo cerissued adecision in theSchool

    àoard'sfavorona11issues.
           74.       '
                     FheHeadng Oo cerfoundthat,:çB0th M r.and M rs.Grosswerein ap eem ent

    witheveryaspectoftheEeligibilityqmeetipg'sconsensus,asreflectedcleadyandunequivocally
    in thewritten docum entsconcerningthem eeting.''

                     TheHearingOfdcerfoundthat,<r nAugust22,2018,theèarentfledtheinstant
    dueprocesdcom plaint,exactlytwo yearsaAerthedateoftheIDEA eligibility m eeting,

    attemptingto claim thattheeligibility tenm 'sdetermination ofineligibility undertheIDEA,with

    wllich shehad cleady andunequivocAlly ap eed in writing,wasincoqect.TheParent's

    contentibn thatshewassomehow hoodwinked ormisled by the SchoolBoard iswithoutmezit''




                                      - 11 -

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                  TheHearing Oo cerEçfound thetestim ony oftheSchoolboardpersormel

    credible''asEtgtjheirdemeanorwasopen,frank,and forthright.''
           77.    TheHearing OfscerwasEtsympathetictothe SchoolBoard'sfrustration atthe

    tim e,resources,and energy ithashad to expend in opposing theSection 504 and thism EA

    proceedingl.q''.
           78. TheHearingOfscerfqùndthatthettevidencedemonstratesthatEM rs.Gross),not
    theSchoolBoard,actedunreasonablywith respecttotheStudent'seducationalprogrammingl.l''.
           79.    The SchoolBoardwastheprevailingparty on every issuein thelengthy due

    process hearing.

           80.
            '
                  Dr.and M rs.Gross'sIDEA dueprocesscom plaintand subsequentcauseofaction
                       .



    werepresented fortheim properpurposeofattempting to ttre-do''5 çfre-try'': orçirebut''the Section
                                                          .




    504 admirlistratl
                    :veheating.

           81. Dr.andM rs.Gross'sIDEA dueprocesscomjlaintandsubsequentcauseofaction
    werepresented fortheim properpurposeofneedlessly increasing the costoflitigation.

           82.    Dr.and M rs.Grossfled andlitigated acause ofaction thatwasfrivolous,

    unreasonable,and withotitfoundation.

           83.    Attom ey W augh sled a causeofaction thatwasgivolous,unreasonable,and

    withoutfoundation.

           84.    Attom ey W augh continuedto litigateaAerthiscaseclearly becnm efrivolous,
4
    umyasonableand withoutfoundation.

           85.    Attom ey W augh initiated and continued to litigatetheIDEA dueprocessheadng

    fortheim properpurposeofattempting to <Ere-do''idre-try''ortGrebut''the Section 504

    adm inistrative hearing.



                                      -
                                        12 -
     Case 7:19-cv-00232-EKD Document 1 Filed 03/12/19 Page 12 of 13 Pageid#: 12
       86.       Theattorneys'fees,costs,and ekpensesincurred in defending theIDEA due
                                                                     '
                                        .                                                        ,
                       '
             o
pm cesshearlngwerereasonable and arebasçd upon the.rateprevailing in thç com munityin

which theproceeding aroseforthekind and quality ofservicesfurnished.             '
                               .                                                     '
                           .                                     .
                                            '
                                                                                                             $

       87. 'rheSchoolBoardincun'edapproximatel#$190,000.00ofreasonableattorneys'
feesandcostsin.defendlnjtheclaiMsofDr.andM rs.Grbds.
                                   $                                     .


       88,       The SchoolBoardisentitled to an awardofattom eyî'fees,costs,and expenses.
                                   11                                                                    .       . .



                                        V. REOUEST FO R QELIEF
  W HEREFORE,theSchoolBoardrespectfullyrequeststhatthisCotut                                         .


       89.       Award the SchoolBoard reasonable attom eys'fees,costs,and expensesagainst

br.andArs.Gross'forhavingtodefendagainjtDr.andM rs.Gross'sclaimsinthe
adminiskatiyeproceeding below ;

       90.       Award the School'Board repsonable attorneys'fees,dosts,and expensesagainst' '
                                                                                         .



AttorneyW aughforhavingtoèefendagainst
                                     'Drao Mrs.Gross'sclaimsintheadministrative
                                                             .



proceedingbelow ;
                                                                             '
                                                         .

       91.       Awàrd such otherreliefastheCourtdeemsproper.

M arch 12,2019                                  Rejpectfully submitted,

                                                THE SCHOOL BOARD W ROANOKE COUNTY
                                                   Co    el
                                                    ,   .                        -
                                                                                     %
                                                                     t.
                                                Patrickr'r.Andrlano(VS: No.65223)
                                                keedSmithLLP
                                                RivergontPlaza - W estTow er
                                                901EastByrd Street,Suite1904
                                                Richmond,Virginia23219
                                                Telephone:(804)744-3400
                                                Facsimile:(804)344-3410
                                                pandrianoo reedsmith.com
                                                CounselforDefendant,SchoolBoardofRoanokeCblfa/y




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